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10
                                      UNITED STATES DISTRICT COURT
11                                   EASTERN DISTRICT OF CALIFORNIA
          APOTHIO, LLC,                                      No. 1:20-CV-00522-NONE-JLT
12
                             Plaintiff,
13                                                           OPPOSITION TO F&W
                 v.                                          DEFENDANTS1 CALIFORNIA
14                                                           DEPARTMENT OF FISH AND
          KERN COUNTY; KERN COUNTY                           WILDLIFE AND CHARLTON
15        SHERIFF’S OFFICE; CALIFORNIA                       H. BONHAM’S MOTION TO
          DEPARTMENT OF FISH AND WILDLIFE;                   DISMISS
16        DONNY YOUNGBLOOD; JOSHUA
          NICHOLSON; CHARLTON H. BONHAM;
17        JOHN DOES #1 THROUGH #10,
          UNKNOWN AGENTS OF THE KERN
18        COUNTY SHERIFF’S OFFICE; JOHN
          DOES #11 THROUGH #20, UNKNOWN
19        AGENTS OF THE CALIFORNIA FISH
          AND WILDLIFE DEPARTMENT,
20
                             Defendants.
21

22
     1
      The “Kern Defendants” include Kern County, Kern County Sheriff’s Office, Donny Youngblood,
23   Joshua Nicholson, and John Does #1-10 Agents of the Kern County Sheriff’s Office. The “F&W
     Defendants” include Department of Fish and Wildlife, Charlton Bonham, and John Does #11-20 Agents
     of the Department of Fish and Wildlife.
                                                 i
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1                                              INTRODUCTION2

2           The California Attorney General, representing the state defendants in this case, attempts to

3    defend the Kern County Sheriff’s abuse of power in bulldozing 500 acres of Apothio’s legal hemp

4    by advancing astounding legal positions that would undermine the entire U.S. hemp industry. The

5    Attorney General incorrectly argues that when Apothio was cultivating that hemp in 2019—long

6    after California voters passed Proposition 64 (which unambiguously authorized hemp cultivation)

7    and in the wake of Congress’s passage of the 2018 Federal Farm Bill (which immediately removed

8    hemp from the federal Controlled Substances Act)—all commercial hemp farming was somehow

9    still illegal. See, e.g., ECF No. 21 (“MTD”) at 13. And, while expressly recognizing that industrial

10 hemp could be cultivated under federal law for research purposes, Defendants further disregard the

11 well-pleaded allegations in the Complaint establishing Apothio’s qualifications to cultivate hemp

12 under that federal law. Worse still, the Attorney General advances a baseless legal theory that would

13 expose every hemp farm to criminal liability, contrary to state and federal law, for any hemp

14 cultivation that results, even temporarily, in a single flower of a single plant fluctuating above 0.3%

15 THC. See, e.g., id. at 1.

16          Apothio has alleged in detail how the Kern County Sheriff’s Office (KCSO), with the

17 assistance of the California Department of Fish and Wildlife (“CDFW”)—but conspicuously

18 without any involvement of any federal drug enforcement authority—ignored federal and state law

19 by treating Apothio’s legal hemp as a controlled substance. The F&W Defendants’ main response

20
      2
        For the Court’s convenience, Apothio proposed to file a joint opposition brief, of no more than 35
21    pages, that would address both of the motions to dismiss that Defendants filed in this case. Because
      Defendants would not agree and insisted on separate opposition briefs, Apothio has filed two separate
22    briefs with some overlapping content. In addition, Apothio notes that Defendants failed to satisfy their
      obligation to meet and confer on several of the grounds presented in their motions, see Standing Order,
23    Dkt. No. 2-2 at 2, which could have addressed many of the baseless substantive and technical issues they
      raise. See Rubie’s LLC v. First Am. Title Co., No. 1:18-CV-01052 DAD, 2018 WL 6419674, at *2 (E.D.
      Cal. Dec. 6, 2018).
                                                     1
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1    is to claim, based on a grievous distortion of the Complaint, that Apothio alleges “marijuana” was

2    destroyed. This mischaracterization and mis-citing of the allegations of the Complaint is no basis

3    for a motion to dismiss, for which the Court accepts as true Apothio’s allegations that it cultivated

4    legal hemp and destroyed any hemp plants exceeding 0.3% THC on a dry weight basis. See ECF

5    No. 1 (“Compl.”) ¶¶ 35, 62, 82, 108. Defendants repeatedly and improperly rely for their motion

6    on alternative facts beyond the well-pleaded Complaint.

7            Because their motion depends on these gross distortions of the operative allegations and

8    controlling law, and others discussed further below, the F&W Defendants’ motion to dismiss should

9    be denied in its entirety.

10                                        FACTUAL BACKGROUND

11           Apothio cultivates hemp as an “established agricultural research institution” (EARI). Both

12 itself, and in conjunction with institutes of higher learning, with whom Apothio has research

13 agreements, Apothio studies potential uses of the cannabinoids in hemp to treat serious medical

14 conditions, including epilepsy. Compl. ¶¶ 2, 3.

15           Since the 2016 passage of Proposition 64 in California, which encourages hemp cultivation

16 and research, and the 2018 Farm Bill, which legalized hemp by removing it as a federal controlled

17 substance, hemp production has become widespread in California and many other states. Id. ¶¶ 32,

18 33, 34, p.2 n.1. Given its legal status and commercial benefits, California agencies and towns,

19 including Kern County, encourage and permit businesses like Apothio to grow hemp. Id. ¶¶ 74, 84.

20           Apothio was always transparent about its business and regularly communicated about its

21 hemp cultivation with relevant government authorities. See, e.g., id. ¶¶ 79, 80, 86, 95, 98. Even

22 though as an EARI Apothio was permitted to possess hemp that tested above 0.3% THC, and was

23


                                                        2
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1    not required to provide test results,3 Apothio shared its test results with the County, and destroyed

2    any hemp that tested above 0.3% THC dry weight, a rare occurrence. Id. ¶¶ 35, 62, 82, 86, 92, 108.

3             The levels of THC in hemp vary throughout its lifecycle: “For example, younger undried

4    hemp plants may contain relatively high levels of THC, but by the time the plants mature and are

5    ready to be harvested, that THC has often been converted to other chemicals. Id. ¶ 43. Apothio’s

6    research “has focused on developing varietals of hemp that, when mature and dry, contain little or

7    no detectable THC.” Id. ¶ 52. As the Complaint states, “Apothio routinely tests its plants for THC

8    content . . . all of its hemp varietals have been independently tested . . . and certified to contain

9    below 0.3% THC when measured in the mature, dried flower of the plants.” Id. ¶ 61.

10            On October 24, 2019, Defendant Nicholson of the KCSO sought a search warrant, wrongly

11 claiming that Apothio was illegally cultivating marijuana, a misdemeanor offense in California. Id.

12 ¶ 10. Although the KCSO has thus far stonewalled Apothio’s repeated efforts to obtain access in

13 California state court to any probable cause affidavit that was submitted in support of the search

14 warrant, Apothio alleges that the affidavit intentionally omitted material information, including (1)

15 Apothio’s legal status as a hemp grower and EARI, (2) Apothio’s constant communication and

16 transparency with the County, and (3) the County’s approval and lack of any concern expressed to

17 Apothio in meetings and written communications. Id. ¶ 107.

18            On October 25, 2019, Defendant Nicholson appeared with several officers from the KCSO

19 and the CDFW in tactical gear, and they jointly proceeded to bulldoze all of Apothio’s hemp

20 crops—including two fields that Nicholson admitted contained only legal hemp—ignoring legally

21 mandated testing procedures and their own negative test results. Id. ¶¶ 11, 113. Defendants

22 destroyed 500 acres of Apothio’s crops, causing enormous financial damage to the company at a

23
      3
          “Hot” hemp denotes hemp that tests above 0.3% THC dry weight. Compl. ¶ 97.
                                                     3
                               OPP. TO F&W DEFENDANTS’ MOTION TO DISMISS
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1    critical time in the hemp industry. Id. ¶¶ 1, 236, 247–51. To date, nobody has been arrested or

2    charged in connection with the matter.

3                                                 ARGUMENT

4         I.   THE MOTION TO DISMISS MUST BE DENIED BECAUSE IT FAILS TO
               ACCEPT APOTHIO’S ALLEGATIONS AS TRUE AND INSTEAD MOVES TO
5              STRIKE FACTS THAT PRECLUDE DISMISSAL.4

6                   A. Defendants ignore the legal standard for a motion to dismiss

7              On a motion to dismiss, the Court must “accept factual allegations in the complaint as true

8    and construe the pleadings in the light most favorable to the nonmoving party.” Manzarek v. St.

9    Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Defendants cannot obtain

10 dismissal by contradicting, disputing, or moving to strike factual allegations because “factual

11 challenges to a plaintiff’s complaint have no bearing on the legal sufficiency of the allegations under

12 Rule 12(b)(6).” Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001).

13                  B. Defendants’ claim that the destroyed crops were “contraband” depends on
                       improper and unsupported factual assertions
14
                Rather than accepting Apothio’s allegations that the destroyed crops were hemp, the F&W
15
     Defendants’ improperly recharacterize them as marijuana and therefore “contraband” in order to
16
     claim that there can be no federally protected property interest. MTD at 4–7. Defendants’ cannot
17
     distort, ignore, and rewrite Apothio’s complaint to suit their motion. Because this contraband
18
     argument is the only asserted basis to dismiss the Fourth Amendment excessive destruction, due
19
     process, takings, some Bane Act Claims, and state tort claims, Defendants’ motion must be denied
20
     as to claims One, Two, Three, Six, Seven, Eight, Nine, and Ten.
21

22

23    4
        Apothio responds to F&W Defendants’ motion to strike in its Joint Opposition to Defendants’ Motions
      to Strike filed simultaneously herewith.
                                                     4
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1             Apothio’s Complaint repeatedly alleges that the destroyed crops were legal hemp, as defined

2    in the 2018 Farm Bill. For example, Apothio’s allegations include: “all of its hemp varietals” had

3    been “independently tested via laboratory-grade chromatographs and certified to contain below

4    0.3% THC when measured in the mature, dried flower of the plants,” Compl. ¶ 61;5 “when Apothio

5    plants have demonstrated high THC levels at maturity, Apothio has destroyed them,” id. ¶ 62; and

6    Defendant Nicholson admitted to destroying two fields containing no plants above 0.3% THC, id.

7    ¶ 113.

8             The F&W Defendants resort to distorting Apothio’s allegations in order to assert that the

9    crops were contraband. Specifically, as if reading an entirely different Complaint, Defendants

10 incorrectly claim that Apothio’s Complaint “admits it was growing marijuana with more than 0.3

11 percent THC.” MTD at 1 (citing Compl. ¶¶ 62, 82, 92), and “Apothio admits to cultivating and

12 possessing a far greater amount of marijuana than allowed,” id. at 5 (citing Compl. ¶¶ 85, 88, 91-

13 92). But these allegations are nowhere in the Complaint. The paragraphs cited by Defendants

14 confirm precisely the opposite: “On the occasion when Apothio plants have demonstrated high THC

15 levels at maturity, Apothio has destroyed them,” Compl. ¶ 62; Apothio’s 2018 testing of a prior

16 crop “confirmed that the plants would have THC levels of less than 0.3% at maturity, and this

17 indeed turned out to be the case when the plants were finally harvested,” and “Apothio was carefully

18 tracking the few exceptions testing above that threshold so they could be destroyed if they were not

19 compliant with the 0.3% limit at the time of harvest,” id. ¶ 82 (referring to 2018 harvest the year

20 before the destruction); In February 2019, Apothio had “500 additional acres of hemp” id. ¶ 85; In

21

22

23    5
       Thus as this allegation shows, and contrary to F&W Defendants’ criticism, Apothio, did, in fact, cite
      “studies of its own showing its plants’ THC levels were below 0.3 percent,” MTD at 6.
                                                    5
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1    March 2019, Apothio “planted approximately 17 million industrial hemp seeds on the 50 acres of

2    land,” id. ¶ 88; and Apothio had planned to “extract the legal components of hemp,” id. ¶ 91.

3             None of these paragraphs allege that Apothio possessed plants above 0.3% THC dried

4    weight at the time of the destruction. Paragraph 92 alleges that Apothio “remained in contact with

5    the County to inform the County about its continued work,” throughout 2019, and “Apothio

6    provided updates on testing that included test results of plants currently above 0.3% THC.” This

7    sole allegation merely indicates that when Apothio provided updates, it would include any results

8    of plants that tested above 0.3% THC, but there is not a single factual allegation in the fifty-eight

9    page Complaint that any plants testing above 0.3% THC dried weight remained at the time of

10 Defendant’s massive destruction of Apothio’s property in late October 2019. To the contrary, the

11 Complaint alleges Apothio routinely destroyed hot hemp, id. ¶¶ 62, 82, and expressly challenges

12 the reliability of any testing—none of which has been disclosed to date—that could have found

13 Apothio’s plants to have exceeded 0.3% THC at the time Defendants destroyed Apothio’s crop, id.

14 ¶¶ 123, 124.

15            “Taking the factual allegations in the Complaint as true,” Defendants have “not

16 demonstrated that the goods seized by [law enforcement] were in fact contraband.” Innovative

17 Nutraceuticals, LLC v. United States, No. 18-CV-1400, 2019 WL 3017672, at *3–4 (C.D. Cal. Mar.

18 28, 2019).

19     II.    THE MOTION TO DISMISS FAILS BECAUSE IT MISCHARACTERIZES
              FEDERAL AND STATE LAW
20
              Even though the Complaint clearly pleads that Apothio cultivated legal hemp, and not
21
     marijuana, the F&W Defendants incorrectly claim that Apothio’s activities were still unlawful
22
     because Apothio does not meet the requirements of a state EARI or a federal research exemption.
23
     See MTD at 10-12. They further make the astounding claim that even if Apothio met the

                                                   6
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1    requirements of a state EARI, California’s hemp production laws for EARIs have always been

2    illegal and preempted by federal law. See id. at 12 (“Federal Hemp Law preempts any State

3    Research Loophole.”). But Apothio’s allegations establish its eligibility to cultivate hemp under

4    both the federal and California research exemptions, as discussed below in Part II, Section A.

5    Moreover, federal law does not preempt California’s EARI law, as discussed in Part II, Section B.

6           Not content merely to delegitimatize California’s hemp industry, Defendants attempt to

7    criminalize it as well. Defendants advocate an extreme, and unfounded, legal position that

8    contradicts the express intent of both Congress and the California legislature. Their legal theory

9    leads to the sweeping conclusion that regardless of whether any individual or entity intends to

10 cultivate legal hemp, the entire industrial hemp industry, including any educational institutions

11 conducting hemp research, face criminal liability (and suffers the destruction of its entire crop) any

12 time a single flower in a single plant fluctuates above 0.3% THC, a not uncommon circumstance in

13 the course of legal hemp cultivation. See, e.g., Compl. ¶ 43. This is also not the law, as explained

14 in Part II, Section C.

15                A. Apothio’s allegations establish its eligibility to cultivate hemp under both the
                     California and federal research exemptions
16
            While California law provides for a registration process and imposes other requirements on
17
     hemp growers generally, throughout 2019 it exempted EARIs from nearly all such requirements.
18
     Cal. Food & Agric. Code § 81003(a) (2019). California law defines an EARI as “any institution
19
     that is either: (1) A public or private institution or organization that maintains land or facilities for
20
     agricultural research, including colleges, universities, agricultural research centers, and
21
     conservation research centers; or (2) An institution of higher education (as defined in . . . 20 U.S.C.
22
     1001) that grows, cultivates or manufactures industrial hemp for purposes of research conducted
23
     under an agricultural pilot program or other agricultural or academic research.” Cal. Food & Agric.

                                                    7
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1    Code § 81000(a)(4)(A), (a)(4)(B).6 Apothio’s well-pleaded allegations establish that it qualifies as

2    an EARI under both prongs of the California statute. Compl. ¶¶ 2–3, 49–50, 66, 68.

3             While the Kern Defendants concede that Apothio’s Complaint adequately alleges facts

4    qualifying Apothio as an EARI under California law, see Kern MTD at 5, the F&W Defendants

5    argue that Apothio does not qualify because it “is not a college or education institution” and would

6    have commercialized its hemp. MTD at 11. The F&W Defendants are wrong: Apothio’s Complaint

7    qualifies it as an EARI under both of the above-quoted subsections of the Food & Agricultural

8    Code. With respect to subsection (a)(4)(A), the Complaint expressly alleges that Apothio has

9    maintained “land and facilities to support [hemp] research and development, since 2015,” and that

10 it is “authorized to research and commercialize hemp under both federal and state law.” Compl.

11 ¶¶ 2–3, 49–50. With respect to subsection (a)(4)(B), the Complaint further alleges Apothio’s

12 qualification as an EARI based on its “research agreements with multiple institutes of higher

13 learning,” Compl. ¶ 2, including a 2015 agreement with Pardee Rand Graduate School7 to provide

14 “microeconomic data on the cost of cultivating and processing domestic hemp product,” id. ¶ 65,

15 and 2018 and 2019 agreements with Cerro Coso Community College, id. ¶¶ 66, 68.8

16            Even though Apothio is not itself an “institution of higher education,” that is not a

17 requirement to qualify as an EARI of the California statute; indeed, the express above-quoted

18 language from subsection (a)(4)(B) makes clear that any “public or private institution or

19

20    6
          Previously codified at § 81000(c) in October 2019.
      7
       Pardee Rand is an “institution of higher education” as defined by federal law. See 20 U.S.C. § 1001; 34
21    C.F.R. § 600.4(a)(4)(i); Pardee Rand Graduate School, DEP’T OF ED. DATABASE OF ACCREDITED
      POSTSECONDARY INSTITUTIONS AND PROGRAMS (accessed July 9, 2020),
22    https://ope.ed.gov/dapip/#/institution-profile/106023.
      8
23     The 2018 agreement was a “research and internship agreement” in which Apothio would offer its sites
      for vocational training. Compl. ¶¶ 66–67. The 2019 agreement created “the first National Industrial
      Hemp Research, Development, and Commercialization Center.” Id. ¶ 69.
                                                      8
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1    organization” may qualify as a California EARI. Moreover, it is also not a prerequisite under

2    subsection (a)(4)(B) of California’s EARI definition, which tracks the language of the federal

3    research exemption created by the 2014 Farm Bill because that federal exemption has consistently

4    been interpreted as extending beyond institutions of higher education and state departments of

5    agriculture to include parties with whom they have contractual relationships for hemp cultivation

6    and research, like Apothio. See, Statement of Principles on Industrial Hemp, USDA, DOJ, DOJ,

7    HHS, & FDA, 81 Fed. Reg. 53395 (Aug. 12, 2016) (recognizing that “persons employed by or

8    under a production contract or lease with [an institution of higher education or a department of

9    agriculture] to conduct such research, may grow or cultivate industrial hemp” pursuant to the federal

10 research exemption); see also, e.g., Hrg. Tr., Kentucky Dep’t of Ag. v. DEA (KDA), 3:14-cv-00372-

11 JGH, ECF No. [20], at 3:17–22, at 5:12–6:4 9 (June 18, 2014). Indeed, few institutions could

12 meaningfully cultivate or research hemp without the ability to contract with outside parties. See,

13 e.g., Br., Kentucky Dep’t of Ag. v. DEA, 3:14-cv-00372-JGH, ECF No. [17-1], at 1516 (W.D. Ky.

14 June 12, 2014).10 The EARI definition contained in Cal. Food & Agric. Code § 81000(a)(4)(B) must

15 be construed with the same scope. Belridge Farms v. Agric. Labor Relations Bd., 21 Cal. 3d 551,

16
      9
17     “THE COURT: So then as a general rule, that these growers that Jonathan and Dick represent, if they
      are growing pursuant to a proper memorandum of understanding, and the KDA or Kentucky wouldn’t be
18    able to get the seeds unless they had made an application and it had been approved, so then if they are
      operating under the memorandum, then they are operating within the law. Is that the way it works?
19    MR. SCHECTER [for the DEA]: This is Ben. Generally speaking, that’s correct….So I think that’s the
      implicit recognition and the explicit representation in the May 22nd letter, which is as long as we are all
20    following the Farm Bill and conducting research to grow and cultivate industrial hemp and these MOUs
      are in place and they are adhering to their own state law, I think we are in good shape.”
21    10
         “KDA obviously does not have the capability to use any of its own small office staff to plant hemp
      seeds and cultivate test plots. Thus, forbidding KDA from contracting with private farmers to carry out
22    the agricultural pilot programs would effectively preclude KDA from cultivating or growing industrial
      hemp for the pilot programs. As to the colleges and universities, while they may have limited capability
23    to use their own employees to actually cultivate test plots, it is, as the Court noted during the May
      21hearing in this case, normal and expected that colleges and universities contract with private
      individuals and firms to carry out research projects.” (Emphasis added).
                                                    9
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1    557 (1978) (giving “like interpretation” to “state statutes which are patterned after (the) federal

2    statutes”).

3            Moreover, the nature of these permissible and profitable contractual relationships and,

4    indeed, the plain language of the California EARI statute undercuts the F&W Defendants’

5    conclusory assertion that Apothio cannot be an EARI because it has a “commercial purpose.” MTD

6    at 11. The F&W Defendants fail to identify anything that prohibits an EARI from engaging in

7    commercial activity; they cite no statutory or case authority to support this invented restriction.

8    Contrary to the F&W Defendants’ argument, however, California law makes clear that so long as

9    an institution meets the EARI definition set forth in California Food & Agricultural Code section

10 8100(a)(4)—which Apothio’s allegations establish it does—then the following statutory sections

11 governing California EARIs apply to them. There is no prohibition or disqualification under

12 California law (or federal law, for that matter) for EARIs that engage in commercial activity.

13           With respect to Apothio’s qualification for the research exemption under federal law,

14 Apothio’s Complaint alleges facts that qualify it under that exemption for the same reasons they

15 qualified Apothio as an EARI under the “institution of higher education” definition contained in

16 Cal. Food & Agric. Code § 81000(a)(4)(B). The F&W Defendants again offer no analysis or legal

17 authority for their conclusory claim that Apothio does not qualify under the federal research

18 exemption, MTD 11–13, and they ignore the above-cited authorities that contradict their position.

19           The F&W Defendants further argue, again without any support, that under the federal

20 research exemption, Apothio would still not be permitted to grow hemp because California has not

21 promulgated any “pilot program.” See id. at 12. But the F&W Defendants selectively and

22 misleadingly cite only the statutory definition of “agricultural pilot program,” ignoring that the

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1    exemption itself permits cultivation of industrial hemp under “an agricultural pilot program or other

2    agricultural or academic research.” 7 U.S.C. Section 5940(b)(1) (emphasis added).

3                 B. Federal hemp law does not “preempt” California’s EARI law11

4           Faced with Apothio’s well-pleaded allegations qualifying it as an EARI, the F&W

5    Defendants also advance the misguided argument that Apothio’s EARI status under California law

6    is not relevant because, due to alleged federal preemption, “at the time of the eradication, legitimate

7    industrial hemp can only be cultivated for ‘agricultural or academic research’ [under the 2014

8    federal Farm Act exemption].” MTD at 13 (citing 7 USC § 5940(b)(1). But in passing the 2018

9    Farm Bill, Congress removed hemp from the Controlled Substances Act, thereby immediately

10 removing any federal prohibition against hemp cultivation. The 2014 federal research exemption

11 from illegal hemp cultivation (7 U.S.C. § 5940), in no way narrowed states’ ability to permit the

12 cultivation of hemp once the 2018 Farm Bill legalized hemp.

13          Defendants further contend that because California has not yet received USDA approval for

14 a new plan pursuant to the 2018 Farm Bill, and the USDA has not issued a final plan, California’s

15 existing legal and regulatory regime lacked any force at the time of the destruction, and all of the

16 agricultural property developed in reliance on California law is somehow converted into

17 contraband. But until the USDA publishes its final rule12 or a new state plan is approved by the

18 USDA, growers like Apothio may cultivate hemp under existing law, without any concern about

19 violating the Controlled Substances Act. See Bond v. United States, 572 U.S. 844, 854 (2014) (“the

20

21

22    11
        See pages 11-14 of Apothio’s Joint Opposition to the Kern Defendants’ Motions for an extended
      discussion of the interaction between federal and state law.
23    12
       USDA promulgated an interim final rule on October 31, 2019, but that rule was not in effect until after
      Apothio’s crop was destroyed.
                                                    11
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1    National Government possesses only limited powers; the States and the people retain the

2    remainder”).

3           Indeed, to this day, the California Department of Food and Agriculture recognizes in its

4    written public guidance that, as a result of the 2018 Farm Bill, “hemp is no longer federally

5    regulated as a controlled substance” and that the growth of industrial hemp is “legal in California,”

6    pursuant to California Food and Agricultural Code Section 81000, by “registered growers, hemp

7    breeders, and established agricultural research institutions.” California Industrial Hemp Program:

8    Frequently Asked Questions, CAL. DEP’T FOOD & AG. (accessed July 13, 2020) (emphasis added),
                                                                    13
9    https://www.cdfa.ca.gov/plant/industrialhemp/faq.html.              Other than preserving (against any

10 possible USDA regulation) protections for hemp growers that were established by the 2014 Farm

11 Bill through the one-year anniversary of the USDA’s new plan,14 Congress did not provide for any

12 federal role during this interim period, thereby vesting states with such regulatory power.

13          The 2018 Farm Bill removed hemp from the CSA’s list of controlled substances (with

14 immediate effect—not only once new state plans were submitted and approved), established a path

15 for federal regulation of hemp production only once the USDA steps in, and continued to safeguard

16 (against USDA regulation) the cultivation of hemp for research under the 2014 Farm Bill for one

17 year after the USDA’s final plan is approved. In sum, by removing hemp from the Controlled

18 Substances Act, hemp immediately became legal to cultivate, and Apothio complied with all the

19 relevant California laws to cultivate hemp.

20

21
      13
        Such directly contradictory public guidance from a government actor implicates principles of equitable
22    estoppel and undermines, if not entirely forecloses, the F&W Defendants’ argument. See Apothio’s Joint
      Opp. to Kern Defendants’ Motions at Part II, Section D.
23    14
       “Effective on the date that is 1 year after the date on which the Secretary establishes a plan . . . the
      Agricultural Act of 2014 (7 U.S.C. § 5940) is repealed.” 2018 Farm Bill, 132 Stat. at 4829.
                                                     12
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1             In any event, Defendants concede that the cultivation of industrial hemp for research

2     purposes remains permitted under the 2014 grandfathered federal research exemption (7 U.S.C. §

3     5940), MTD at 13, which Apothio also satisfies for the reasons explained in the prior section.

4                C. Hemp that exceeds 0.3% THC is not contraband per se

5           Defendants appear to argue for the criminalization of any hemp cultivation that results, even

6    temporarily, in a single flower of a single plant fluctuating above 0.3% THC. MTD at 4. For the

7    reasons explained above, that argument is not only incapable of carrying their burden on this

8    motion, 15 see Part II, Section A, but it is also demonstrably wrong as a matter of law. To the

9    contrary, because hemp that may fluctuate above the 0.3% THC level does not qualify as contraband

10 per se, Apothio would have a property interest even in such hemp.

11          Because the per se contraband label extinguishes a protectable property interest, it only

12 applies to the narrow set of items for which “no legal purpose” exists; its possession “constitutes a

13 crime.” See, e.g., United States v. Harrell, 530 F.3d 1051, 1057 (9th Cir. 2008). With the enactment

14 of the 2018 Farm Bill’s amendment to the Controlled Substances Act, hemp crops that contain some

15 plants with a THC in excess of 0.3% are now like many goods that can be legal or illegal depending

16 on the circumstances, and is thus not eligible for per se treatment. Cf. One 1958 Plymouth Sedan v.

17 Commonwealth of Pennsylvania, 380 U.S. 693, 699 (1965) (whether a car is contraband depends

18 on whether it is stolen). Holding otherwise would subject hemp farmers that do not intend to grow

19 marijuana to criminal sanctions, against the typical rule that that criminal law punishes only

20 intentional acts. United States v. Henderson, 243 F.3d 1168, 1173 (9th Cir. 2001) (“intentional

21 violation” is required to impose “criminal liability” for unlawful act that might happen

22
      15
        Defendants’ claim that Apothio has no “property interest” in alleged “hot hemp” has no bearing on
23    Apothio’s Fourth Amendment claims. See Allen v. Kumagai, 356 F. App'x 8, 9 (9th Cir. 2009)
      (overturning dismissal of section 1983 claim because defendants lacked probable cause where state law
      authorized use of medical marijuana despite federal prohibition).
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1    “innocently”); see also 7 U.S.C. § 1639p (expressly recognizing that no criminal liability for

2    negligent growth of hot hemp can be imposed under any new state or federal plans under the 2018

3    Farm Bill).

4           Possession of hot hemp, at least temporarily, is a legitimate—and, indeed, virtually

5    inevitable—aspect of legal hemp cultivation. That is because the levels of THC in hemp plants can

6    fluctuate throughout its lifecycle: “For example, younger undried hemp plants may contain

7    relatively high levels of THC, but by the time the plants mature and are ready to be harvested, that

8    THC has often been converted to other chemicals.” Compl. ¶ 43. Apothio “has focused on

9    developing varietals of hemp that, when mature and dry, contain little or no detectable THC.” Id. ¶

10 52.

11          Indeed, because it is practically impossible to grow hemp without occasionally fluctuations

12 above the 0.3% THC level for some individual plants, the USDA recognized, in drafting its new

13 plan, that with the legalization of hemp it is not even negligent for hemp producers to exceed the

14 “acceptable hemp THC level,” which could exceed 0.3% THC to account for “the uncertainty in the

15 test results,” so long as they “use reasonable efforts to grow hemp and the plant does not have a THC

16 concentration of more than 0.5% on a dry weight basis.” See USDA, Establishment of a Domestic

17 Hemp Production Program, 84 Fed. Reg. 58522-01 (Oct. 31, 2019); see also Cal. Food & Agric.

18 Code § 81006(e)(9) (absolving hemp growers that produce hemp between 0.3% and 1.0% THC on

19 a dry weight basis from criminal liability). Subjecting growers to criminal liability (and the potential

20 destruction of their entire crops, including even millions of plants that do not exceed 0.3% THC dry

21 weight) for that possession would destroy the commercial hemp industry and all research into hemp

22 strains that do not exceed the THC threshold: no hemp farmer would experiment with new hemp

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1    strains, or any hemp strains for that matter, because they obviously cannot guarantee, in advance, all

2    THC values during the entire lifecycle of a plant.

3             Finally, there is no conceivable basis for labeling as contraband Apothio’s mature stalks and

4    other portions of its plants that have been excluded from the definition of marijuana (regardless of

5    THC content) since even before the 2018 Farm Bill. Hemp Indus. Ass’n. v. Drug Enf’t Admin., 357

6    F.3d 1012, 1014 (9th Cir. 2004); Innovative Nutraceuticals, 2019 WL 3017672, at *3–4 (“Those

7    portions of the cannabis plant which are not included in the definition of marijuana are not regulated

8    under the CSA and are not contraband.”). Apothio’s hemp plants averaged between 15 to 18 feet at

9    mature height. Id. ¶ 52.16 These stalks that Defendants destroyed were expected to produce millions

10 of pounds of fiber, and are expressly excluded from the definition of marijuana. See Compl. ¶ 242.

11    III.    THE MOTION TO DISMISS FAILS BECAUSE APOTHIO’S FACTUAL
              ALLEGATIONS ARE MORE THAN SUFFICIENT TO STATE FOURTH
12            AMENDMENT CLAIMS

13                 A. Apothio’s well-pleaded allegations establish Defendants’ lack of probable cause,
                      and Defendants’ cannot rely on the warrant to demonstrate otherwise
14
              Defendants claim, contrary to the well-pleaded allegations of the Complaint, that the warrant
15
     was somehow valid because “illegal THC level provides the essential good cause for the warrant.”
16
     MTD at 8. But as discussed infra at pp. 7-9, there is not a single allegation in the Complaint that
17
     THC levels were illegal at the time of the destruction, and dozens of well-pleaded allegations
18
     establish that the hemp was below 0.3% THC on a dry weight basis, i.e., legal hemp. See, e.g.,
19
     Compl. ¶¶ 61, 62. This argument therefore fails.
20

21

22
      16
        Visual plant differences between hemp and marijuana generally include plant height (hemp is often
23    encouraged to grow tall, whereas marijuana is selected to grow short and tightly clustered). “Defining
      Hemp: A fact Sheet,” March 2019, Congressional Research Service, https://crsreports.congress.gov
      R44742.
                                                     15
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1            Defendants further try to argue that even though Apothio has “never seen the statement of

2    probable cause,” the warrant should be “presumed valid.” MTD at 8, But rather than supporting

3    Defendants’ attempt to deprive Apothio of its legal remedies, the absence of any probable cause

4    affidavit is precisely why a liberal pleading standard is applied in circumstances such as here.

5    Despite Apothio’s diligent pursuit of the probable cause affidavit, the government refuses to provide

6    a single page, over eight months after the execution of the warrant. See Klein v. City of Beverly

7    Hills, 865 F.3d 1276, 1279 (9th Cir. 2017) (when plaintiff “diligently pursue[s] the facts underlying

8    [the] judicial deception claim;” “repeatedly [seeks] access to the warrant and the supporting

9    affidavit;” and “petition[s] the . . . Superior Court to unseal the warrant and affidavit,” it “is hard to

10 imagine what more [a plaintiff] could [do] to pursue the factual basis for [a] judicial deception

11 claim”). In the analogous context of a criminal proceeding, where a defendant has challenged the

12 truth of an affidavit submitted in support of a search warrant that has been sealed, California courts

13 relieve the defendant from the burden of making the required preliminary showing to pursue the

14 challenge. See People v. Hobbs, 7 Cal. 4th 948, 971-72 (1994); see Apothio’s Joint Opp. to Kern

15 Defendants’ Motions at 22 (citing additional cases). Therefore, this Court should deny Defendants’

16 motion to dismiss as to Claims One and Four due to Defendants’ illegal search without probable

17 cause.17

18           The Court thus cannot assess the facial validity of the search warrant (which is riddled with

19 errors, including the wrong physical description and social security number for Trent Jones, see

20 Compl. ¶¶ 103-105) for purposes of qualified immunity because there is no probable cause affidavit

21 attached to it. See, e.g., Armstrong v. Asselin, 734 F.3d 984, 993 (9th Cir. 2013). Without providing

22
       17
23       Apothio may bring a claim for lack of probable cause “independent of what was claimed in the search
       warrant application” which goes to what officers “should have known.” Finkelstein v. San Mateo Cty.
       Dist. Attorney’s Office, No. 18-CV-09, 2019 WL 1048244, at *14 (N.D. Cal. Mar. 5, 2019).
                                                     16
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1    the probable cause affidavit, Defendants fail to meet their burden on the affirmative defense of

2    qualified immunity. Frudden v. Pilling, 877 F.3d 821, 831 (9th Cir. 2017) (“Qualified immunity is

3    affirmative defense that the government has the burden of pleading and proving.”). Indeed,

4    Defendant’s cited case, Messerschmidt v. Millender, 565 U.S. 535, 549 (2012), is a summary

5    judgment case.

6             Defendants’ further argument that Apothio’s research status as an EARI is not “material” to

7    probable cause relies upon their mistaken claim that Apothio did not qualify as an EARI. This is

8    wrong for the reasons discussed in Part II, A and B above, including because the F&W Defendants

9    are ignoring Apothio’s well-pleaded allegations. Indeed, even the Kern Defendants acknowledge

10 that Apothio’s EARI status must be assumed true for purposes of a motion to dismiss. See ECF No.

11 18 at 5.

12            Defendants further ignore Apothio’s Complaint in claiming that Apothio has failed to allege

13 facts demonstrating that it was unreasonable for Defendants to believe there was probable cause to

14 seize and destroy Apothio’s crops.18 MTD at 8-9. First, Apothio’s well-pleaded allegations establish

15 that Defendants knew or should have known Apothio was growing legal hemp, which is not criminal

16 under California law, and regardless that Apothio, as an EARI, was exempt from the THC limits

17 and testing requirements under California law. And as explained repeatedly in cases addressing

18
      18
19       Only state law is relevant to the existence of probable cause in this case. United States v. $186,416.00
      in U.S. Currency, 590 F.3d 942, 948 (9th Cir. 2010) (“Nothing . . . supports the proposition that the
20    LAPD thought it was pursuing a violation of federal law.”); United States v. Talley, No. 19 Crim. 605,
      2020 WL 3275735, at *3–4 (N.D. Cal. June 16, 2020) (“[P]ost-hoc explanations that federal law
21    supported probable cause are insufficient. . . . .”). In fact, Defendants would not have been able to seek a
      search warrant for any violation of federal law because California Penal Code Section 1524 does not
      authorize it. See Gonzales v. City of Peoria, 722 F.2d 468, 475 (9th Cir. 1983) (examining “whether state
22    law grant[ed] Peoria police the affirmative authority to make arrests under” certain federal immigration
      statutes and concluding it did not), overruled on other grounds by Hodgers-Durgin v. de la Vina, 199
23    F.3d 1037 (9th Cir. 1999) (en banc).


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1    judicial deception in the context of California’s marijuana laws, when a search target may qualify

2    under a statutory exemption, that prospect heightens, often insurmountably, the probable cause

3    Defendants are required to demonstrate. See, e.g., United States v. $186,416.00 in U.S. Currency,

4    590 F.3d 942, 952 (9th Cir. 2010) (“[T]he LAPD simply ignored copious evidence of [defendant’s]

5    compliance with state law and failed to inform the state court judge of it.”); Allen, 356 F. App’x at

6    9 (“[T]he officers’ knowledge of his medical authorization [for marijuana use] may be relevant to

7    whether they had probable cause to believe he had committed a crime.”); O’Neal v. Johnson, No.

8    2:14-CV-2374 DB PS, 2017 WL 416128, at *8–9 (E.D. Cal. Jan. 31, 2017) (“[A] finding of

9    probable cause to arrest plaintiff must account for the fact that plaintiff was a qualified medical

10 marijuana patient.”) (collecting cases); Demoura v. Ford, No. 09-CV-01344-OWW, 2010 WL

11 5426850, at *5 (E.D. Cal. Dec. 27, 2010) (describing the detailed factors under state law to

12 determine whether probable cause existed for violation of California’s Medical Marijuana Program

13 Act in light of statutory exemption).

14            Here, Defendants knew that Apothio was growing legal hemp as an EARI: Apothio met

15 regularly with Kern County officials, including Defendant Nicholson, who executed the warrant.

16 Complaint ¶¶ 75-80. At each of these meetings, Apothio reiterated, with documentary support, that

17 it was growing hemp as an EARI, without any disagreement, contradiction, or question. Id. ¶ 80.

18 On the day of the destruction, when first arriving at the hemp crops, Defendant Nicholson

19 acknowledged (with “a number of expletive-laced statements”) that he was aware of, but chose to

20 disregard, the fact that Apothio was an EARI. Id. ¶¶ 100-101, 112.

21          Defendants wrongly assert that Apothio’s EARI status can be disregarded because officers

22 need not “rule out a suspect’s innocent explanation.” MTD at 5 (quoting District of Columbia v.

23 Wesby, 138 S. Ct. 577, 588 (2018)). Defendants confuse non-legal “explanations” with actual legal


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1    exemption, and their distorted reading of the law would functionally undermine the legal regime

2    governing hemp, among others, and permit law enforcement to disregard inconvenient law. The

3    case on which Defendants mistakenly rely, Wesby, does not support any such interpretation, but

4    merely involved a “totality of the circumstances” assessment by officers who received incredulous

5    explanations when called to a loud house party at a vacant house operating as a “makeshift strip

6    club.” 138 S. Ct. at 586-87 (“[S]ome of the partygoers claimed the event was a bachelor party, but

7    no one could identify the bachelor”). The cases cited above, including $186,416.00 in U.S.

8    Currency, Allen, O’Neal, and Demoura, all recognize that statutory exemptions are material to a

9    probable cause showing.

10          Second, Apothio’s well-pleaded allegations establish that Defendants knew or should have

11 known that legal hemp and marijuana are variants of the same plant, Compl. ¶ 32, and that careful,

12 certified laboratory testing is required to distinguish between them before any probable cause

13 showing of a crime can be established, see id. ¶ 124 (citing Cal. Food & Agric. Code § 81006).

14 California’s Food & Agricultural Code Section 81006(e)(9) expressly absolves hemp growers that

15 produce hemp between 0.3% and 1.0% THC on a dry weight basis from criminal liability. Yet, as

16 described below, Defendants lacked the necessary training and equipment to test Apothio’s plants,

17 see supra at pp. 22-23; see also Compl. ¶¶ 109, 124-132, 135-139. and they failed to properly use

18 the unsuitable equipment they did have. Compl. ¶¶ 130-32. Defendants knew or should have known

19 about these shortcomings given California law, their extensive communications with Apothio, and

20 the field test manufacturer’s own guidance. Id. ¶¶ 76, 77, 78, 107.

21                B. The open fields doctrine does not apply to seizures, which require probable cause

22          Defendants next claim that even if the warrant they sought and obtained was invalid, they

23 did not actually need a warrant to seize 500 acres of legal hemp. MTD at 8. Defendants’ invocation


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1    of the open fields doctrine is unavailing because that doctrine merely allows officers to enter, but it

2    does not allow any Fourth Amendment seizure without probable cause. Thus it fails to authorize

3    Defendants’ actions after they entered the property, including the seizure and destruction of

4    Apothio’s property. The case Defendants rely on is inapposite. In New York v. Burger, 482 U.S.

5    691, 696 (1987), after conducting a warrantless search, law enforcement took specific steps to

6    determine that auto parts they encountered were in fact stolen (by cross-referencing the parts against

7    a stolen parts list) and, therefore, had probable cause for the seizure. See id. Defendants, in contrast,

8    did not have probable cause to seize millions of legal hemp plants for the many reasons discussed

9    above, including their complete failure to test the plants in any reliable way, no less in accordance

10 with California’s own laws. See, e.g., Compl. ¶¶ 126-27.

11                C. California’s Health and Safety Code § 11479 does not permit the seizure of
                     private property without probable cause
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            Finally, Defendants try to excuse their constitutional violation by suggesting that they could
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     seize and destroy Apothio’s legal hemp under California Health & Safety Code § 11479. MTD at
14
     8. But that statute does not permit the seizure of private property without probable cause; indeed, it
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     expressly states that it applies “after seizure.” Section 11479 exists to govern the preservation and
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     destruction of evidence following a legal seizure, see People v. Jackson, No. G041185, 2011 WL
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     902029, at *13 (Cal. Ct. App. Mar. 16, 2011), but it does not allow the government to circumvent
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     Fourth Amendment rights by seizing property without probable cause. In addition, Defendants
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     ignore entirely Apothio’s well-pleaded allegations that they failed to comply with the statute’s
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     requirements. Compl. ¶¶ 110, 149.
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            In sum, Apothio has adequately pleaded that there was insufficient probable cause for the
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     seizure of its legal hemp and that Defendants knew it.
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1     IV.    APOTHIO ADEQUATELY ALLEGES CAUSAL CONNECTIONS BETWEEN
             THE F&W DEFENDANTS’ ACTIONS AND THE CONSTITUTIONAL
2            VIOLATIONS

3            Apothio’s claims stem from a simple set of circumstances with few actors and a few discrete

4    events. As to the F&W Defendants, based on all of the information now available to Apothio, the

5    Complaint alleges that multiple John Does from CDFW physically destroyed the hemp crops, id. ¶

6    115, and that CDFW and Charles Bonham ratified unconstitutional conduct and failed to train the

7    officers to properly test the hemp, id. ¶ 133. Nonetheless, the F&W Defendants argue that this fact

8    pattern prejudices them because they are incapable of discerning what immunities might apply.

9    MTD at 13.

10           First, the F&W Defendants wrongfully misconstrue cases about the use of naming John Doe

11 plaintiffs as problematic for Apothio, despite a plethora of cases holding that the naming of John

12 Doe defendants is permitted through the end of discovery. Compare Doe v. County of Kern, No.

13 1:16-cv-01469, 2017 WL 5291687, at *3 (E.D. Cal. Nov. 13, 2017) with Gillespie v. Civiletti, 629

14 F.2d 637, 642 (9th Cir. 1980) and Wakefield v. Thompson, 177 F.3d 1160, 1163 (9th Cir. 1999).

15           Second, Defendants ignore Apothio’s explicit allegations regarding Monell liability that

16 would apply to CDFW and Bonham.19 Apothio asserts Section 1983 claims under two theories. The

17 first is that CDFW had a deliberate indifferent and deficient training program that resulted in

18 constitutional violations. See Merritt v. Cty. of Los Angeles, 875 F.2d 765, 770 (9th Cir. 1989). The

19 second is that a final decision maker “ratified” the constitutional violations of a subordinate. See,

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21    19
         Typically, “[w]hen both a municipal officer and a local government entity are named, and the officer is
      named only in an official capacity, the court may dismiss the officer as a redundant defendant.” Ireland
22    v. Solano Cty., No. 2:19-CV-1104, 2020 WL 2770062, at *2 (E.D. Cal. May 28, 2020) (internal
      quotation marks omitted). However, because CDFW have indicated that they might raise an Eleventh
23    Amendment immunity defense that would not be available to claims that seek injunctive relief against
      Bonham in his official capacity, Apothio requests that neither of the F&W Defendant be dismissed at this
      time.
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1    e.g., Gravelet-Blondin v. Shelton, 728 F.3d 1086, 1097 (9th Cir. 2013). These theories are also

2    sufficient for imposing supervisorial liability over superiors. See Bravo v. City of Santa Maria, 639

3    F. App’x 412, 414 (9th Cir. 2016) (citing Blankenhorn v. City of Orange, 485 F.3d 463, 485 (9th

4    Cir.2007)); see also Larez v. City of Los Angeles, 946 F.2d 630, 645-648 (9th Cir. 1991). Apothio

5    expressly alleges both theories, despite Defendants’ incorrect assertion claim that Apothio “fails to

6    identify any links between the alleged constitutional violations any specific actions of [CDFW] and

7    Charlton Bonham.” MTD at 13. Once again, Defendants fail to engage with the substance of the

8    Complaint.

9           Apothio’s Complaint details the procedural and technical failures of Defendants’ testing.

10 Compl. ¶¶ 124-132, 135-139. For example, under California law, hemp crop testing, where

11 applicable, must be performed by laboratory grade equipment. (Id. ¶ 124 (citing Cal. Food &

12 Agriculture Code § 81006)). But the manufacturer of the field testing equipment Defendants used

13 admits it is not laboratory grade. Id. ¶ 130. Defendants also failed to follow other protocols when

14 using that equipment or testing crops, such as calibrating the machine correctly; photographing

15 samples; testing only mature, dried plants; and testing the right number and parts of the plant. Id.

16 ¶¶ 131–35.

17          These allegations state a claim under a failure to train theory. Allegations of Defendants’

18 failure to use drug testing equipment correctly, pursuant to the manufacturer’s own specifications,

19 and in accordance with state law is sufficient to support a failure to train claim. See Harte v. Bd. of

20 Commissioners of Cty. of Johnson, Kansas, 864 F.3d 1154, 1167 (10th Cir. 2017) (permitting

21 Monell claim for Sheriff’s “decision to authorize the use of inconclusive field tests with a high false

22 positive rate, and without the laboratory confirmation expressly required by the manufacturer’s

23 label, as the sole basis for probable cause. . . . [because] implicit in the statutory scheme is a


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1    requirement that the use be in accord with the label, and the label here required confirmation by

2    laboratory analysis”). Moreover, courts have upheld failure to train theories based on officials’

3    failure to train officers on specific technologies relevant to an investigation. See Finkelstein, 2019

4    WL 1048244, at *16. Here, Apothio has gone further; it also alleges that Defendants disregarded

5    negative or inconclusive test results, Compl. ¶¶ 113, 132, which is the type of ad hoc approach

6    appropriate training is meant to prevent.

7           Beyond a failure to train, municipalities can also be found liable when a final decisionmaker

8    ratifies unconstitutional conduct. See Gravelet-Blondin v. Shelton, 728 F.3d at 1097. Apothio has

9    alleged that the search warrant purported to permit the destruction of the crops pursuant to

10 California Health & Safety Code § 11479, which requires approval from the “chief of the law

11 enforcement agency”—the position held by Defendant Youngblood. Compl. ¶¶ 10, 107, 108, p.29

12 n.5. The language of the statute itself provides the necessary link to find plausible Apothio’s

13 allegations that Charlton Bonham, as the head of the other government entity in charge of the search,

14 approved the decision to destroy Apothio’s hemp crop.

15          In short, far from “throw[ing] . . . [D]efendants into one basket” without describing “which

16 [D]efendants allegedly did what,” MTD at 13, Apothio adequately describes how the F&W John

17 Does assisted in destroying Apothio’s crops because CDFW and its Director failed to trained them

18 correctly and incorrectly ratified the destruction of the hemp fields.

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1
                                               CONCLUSION
2
            Defendants’ motion to dismiss should be denied in its entirety. Should the Court be inclined
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     to grant any part of Defendants’ Motion, Apothio requests leave to amend, to cure any deficiencies
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     in accordance with the Federal Rules and the Ninth Circuit’s liberal policy on amendments. See,
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     e.g., DeSoto v. Yellow Freight Sys., Inc., 957 F.2d 655, 658 (9th Cir. 1992).
6

7     Dated: July 13, 2020

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